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8 UNITED STATES DISTRICT COURT
9 CENTRAL DISTRICT OF CALIFORNIA
10
11] CENEEN L. B., NO. CV 20-7089-MCS (E)
12 Plaintiff,
13 Vv. JUDGMENT
14] KILOLO KIJAKAZI, Acting
Commissioner of Social Security,

15
Defendant.

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18 IT IS HEREBY ADJUDGED that the Judgment is entered in favor of
19] Defendant.

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21 DATED: October 25, 2021
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3 MWh l Seve:

24 MARK C. SCARSI

UNITED STATES DISTRICT JUDGE
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